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 6                         UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF CALIFORNIA
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 9   UNITED STATES OF AMERICA,                 No. 2:04-cr-00388 MCE-6
10                Plaintiff,
11           v.                                ORDER
12   JUAN PABLO VELAZQUEZ,
13                Defendant.
14                                 ----oo0oo----
15           The Court is in receipt of Defendant Juan Pablo-Velazquez’s

16   Request for an Emergency Interruption of Sentence (ECF No. 304).

17   District Courts simply do not have the power to “suspend the

18   imposition of a sentence.”     United States v. Murillo, 548 F.3d

19   1256, 1257 (9th Cir. 2008).     Under United States Code, the Bureau

20   of Prisons alone has authority to determine whether a prisoner may

21   be released under such circumstances.        See 18 U.S.C. § 3622.

22   Therefore, Defendant’s request (ECF No. 304) is DENIED.

23           IT IS SO ORDERED.

24   DATE:    April 1, 2011
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                                             MORRISON C. ENGLAND, JR.
27                                           UNITED STATES DISTRICT JUDGE

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